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                    EXHIBIT 2
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                                                                                                                     Filed
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                                                                                               Beverley McGrew Walker
                                                                                                            District Clerk
                                                                                                Fort Bend County, Texas
                                                                                               Vanessa Vasquez
                                             19-DCV-264976
                                       NO.                         .

     MICHAEL IHEKORONYE,                             §               IN THE DISTRICT COURT
      Plaintiff                                      §
                                                     §
     v.                                              §                      JUDICIAL DISTRICT
                                                     § Fort Bend County - 268th Judicial District Court
     UNITED PROPERTY AND CASUALTY                    §
     INSURANCE COMPANY,                              §
      Defendant                                      §           FORT BEND COUNTY, TEXAS


                                 PLAINTIFF'S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, MICHAEL IHEKORONYE (herein “Plaintiff”), who files this, its Original Petition,

against UNITED PROPERTY AND CASUALTY INSURANCE COMPANY (herein “Defendant”) and for

cause of action would respectfully show the court as follows:

                                                     I.

                                Preliminary Information and Definitions

   1. Insured:                   MICHAEL IHEKORONYE (herein “Plaintiff”)

       Policy Number:            UTH03356040142 (herein “Policy”)

       Claim Number:             2017TX034764 (herein “Claim” or “Claim Number”)

       Date of Loss:             09/30/2017 (herein “Date of Loss”)

       Insured Property:         718 MISTYCREEK DRIVE, RICHMOND, TEXAS 77406

                                 (herein “Property” or “Insured Property”)

       Insurer:                  UNITED PROPERTY AND CASUALTY INSURANCE COMPANY

                                 (herein “Defendant”)

                                 Defendant’s attorney for service is: CT CORPORATION SYSTEM

                                 1999 BRYAN STREET, SUITE 900, DALLAS, TEXAS 75201-3136
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                                                     II.

                                         Discovery Control Plan

2. Plaintiff intends for discovery to be conducted under Level 1 of Rule 190 of the Texas Rules of Civil

    Procedure.

                                                    III.

                                   Request for Expedited Trial Date

3. Plaintiff requests that the set the case for a trial date that is within 90 days after the discovery period in

    Rule 190.2(b)(1) ends.

                                                    IV.

                                                  Parties

4. Plaintiff is an individual who resides in Texas.

5. Defendant is a “Foreign” company registered to engage in the business of insurance in the State of

    Texas. This Defendant may be served with process by in person or certified mail, return receipt

    requested, by serving: (1) the president, an active vice president, secretary, or attorney in fact at the

    home office or principal place of business of the company; or (2) leaving a copy of the process at the

    home office or principal business office of the company during regular business hours.

                                                     V.

                                               Jurisdiction

6. The court has jurisdiction over the cause of action because the amount in controversy is within the

    jurisdictional limits of the court and Plaintiff seeks only monetary relief of $100,000 or less, including

    damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees. Specifically,

    Plaintiff seeks damages of $75,000.00 and will not accept any more than $75,000.00 at this time. (See

    attached Binding Stipulation)

7. The Court has jurisdiction over Defendant because Defendant engages in the business of insurance in
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   the State of Texas and the cause of action arises out of Defendant's business activities in the State of

   Texas.

                                                   VI.

                                                 Venue

8. Venue is proper in FORT BEND County, Texas because the insured property is situated in FORT

   BEND County, Texas and/or the contract was signed in FORT BEND County, Texas. TEX. CIV.

   PRAC. & REM. CODE. § 15.032

                                                   VII.

                                                  Facts

9. Plaintiff was the owner of the Policy issued by Defendant.

10. Plaintiff owns the insured property.

11. Defendant sold the policy, insuring the property that is the subject of this lawsuit to Plaintiff.

12. The Plaintiff suffered a significant loss with respect to the property at issue and may have suffered

   additional living expenses.

13. Plaintiff submitted its claim to Defendant with a Date of Loss for damage to the dwelling and contents

   of the home.

14. Defendant assigned a Claim Number to Plaintiff’s claim.

15. Defendant failed to properly adjust the claim and summarily improperly paid the claim with obvious

   knowledge and evidence of serious cosmetic and structural damage.

16. Defendant improperly paid Plaintiffs claim for replacement of the property, even though the policy

   provided coverage for losses such as those suffered by Plaintiff.

17. The person hired by Defendant to prepare an estimate on Plaintiff’s property appeared to be an

   advocate for Defendant as he/she advocated for a minimal sum of damages Plaintiff sustained.

18. Furthermore, the adjuster hired by Defendant was improperly trained, had inadequate knowledge of
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   the type and scope of loss, have very little or no hands on experience with construction, and was not

   qualified to prepare the underlying estimate for damages Plaintiff suffered.

19. As Defendant briefly inspected Plaintiff’s home, it created a scope of damages that was significantly

   less than the amount of damages Plaintiff suffered.

20. Defendant has created this environment of hiring poorly trained adjusters so as to create estimates that

   are substantially less than what its insured’s have actually suffered.

21. Therefore Defendant failed to properly adjust both claims and summarily improperly paid the claims

   with obvious knowledge and evidence of serious cosmetic and structural damage – hoping that

   Plaintiff would lack the knowledge of the amount of damage she actually suffered.

22. As Plaintiff strongly disagrees with the lowball scope of loss that Defendant’s advocate prepared,

   Plaintiff has invoked appraisal.

23. All conditions precedent upon the policy had been carried out and accomplished by Plaintiff.

24. From and after the time Plaintiffs claims were presented to Defendant, the liability of Defendant to pay

   the full claims in accordance with the terms of the policy was reasonably clear.

25. However, Defendant has refused to pay Plaintiff in full, despite there being no basis whatsoever on

   which a reasonable insurance company would have relied on to deny the full payment.

26. As a result of Defendant's acts and omissions, Plaintiff was forced to retain the attorney who is

   representing Plaintiff in this cause of action.

27. Plaintiffs experience is not an isolated case.

28. The acts and omissions Defendant committed in this case, or similar acts and omission, occur with

   such frequency that they constitute a general business practice of Defendant with regard to handling

   these types of claims.

29. Defendant's entire process is unfairly designed to reach favorable outcomes for the company at the

   expense of the policyholders.
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30. Plaintiff anticipates that Defendant has and will continue to manipulate the claims process and

    appraisal process in an effort to underpay or deny the claim.

31. Furthermore, Plaintiff anticipates that Defendant has or will require additional steps in claiming policy

    benefits to which do not exist in the policy.

32. For example, Defendant routinely requires that Plaintiff prove that a dispute exists as to the claimed

    benefits – even though Plaintiff has sent demand letters, invoked appraisal, and filed this lawsuit to

    force the appraisal process.

33. Plaintiff anticipates that Defendant will require or attempt to require that Plaintiff sign a unilateral

    release of claims against Defendant in order for Defendant to pay any appraisal award when the policy

    for insurance benefits doesn’t require that.

34. Specifically, Plaintiff anticipates that Defendant will require a unilateral release of claims against

    Defendant before issuing payment as a result of the appraisal process.

35. This behavior is strictly forbidden under Texas Insurance Code 541.060.

36. The above actions from Defendant show that it has no intent preform on the contract when

    performance is due – namely, to pay policy benefits after an insured has suffered a covered loss.

37. This lawsuit is not about the amount of loss. Indeed, it is about Defendant’s refusal to participate in the

    appraisal process and the actual damages Plaintiff suffered in forcing Defendant to participate in the

    appraisal process.

38. Plaintiff reserves all rights to invoke appraisal under the terms of insurance and is filing this lawsuit to

    enforce its rights of appraisal.

                                                    VIII.

                                            Causes of Action:

                                               COUNT 1:

                                           Breach of Contract
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1. Plaintiff and Defendant have entered into a contract for insurance benefits.

2. One of the conditions in the policy is appraisal.

3. Plaintiff has timely invoked appraisal yet Defendant refuses to participate.

4. After numerous demands, Defendant has forced Plaintiff to file a lawsuit to make Defendant

   participate in appraisal.

5. Plaintiff seeks an order forcing Defendant to participate in appraisal.

6. Plaintiff seeks the actual damages she/he has suffered in forcing Defendant to participate in

   appraisal.

7. The purpose of appraisal is to determine the amount of an insured loss. Appraisal is a remedy

   available under the applicable policy to determine the amount of loss when the parties disagree.

   Plaintiff has invoked the appraisal clause of the policy. Plaintiff seeks Defendant to abide by its

   own policy provision and asks the Court to order the parties to participate in appraisal.

                                        Appraisal Demand

8. As set forth above, Plaintiff and Defendant do not agree on the amount of Plaintiff’s losses. Therefore,

   Plaintiff has sent notice to Defendant that Plaintiff named its appraiser and invoked the Policy’s

   appraisal clause referenced above.

                     Once Invoked Appraisal is Mandatory and Enforceable

9. Texas courts specifically enforce the appraisal clause in property insurance policies and this Court has

   the authority to order the parties to participate in compliance with this policy condition. State Farm v.

   Johnson, 290 S.W.3d 886 (Tex. 2009); In re Allstate County Mut. Ins. Co., 85 S.W.3d 193, 196 (Tex.

   2002). Since 1888, when the Texas Supreme Court decided Scottish Union & National Ins. Co. v.

   Clancy, Texas courts have regularly and consistently enforced appraisal clauses by ordering the

   parties to comply. See Clancy, 8 S.W. 63 (Tex. 1888); In re Allstate, 85 S.W.3d at 196.
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10. Texas has consistently recognized appraisal awards as binding and enforceable, and courts indulge

   every reasonable presumption to sustain them. See, e.g., Franco v. Slavonic Mut. Fire Ins. Ass’n, 154

   S.W.3d 777, 786 (Tex. App.—Houston [14th Dist.] 2004, no pet.).

   Once invoked, appraisal is mandatory.

11. A party who refuses to engage in the process is subject to judicial compulsion. Because the amount of

   loss must be determined in every property damage case, “appraisals should generally go forward

   without preemptive intervention by the courts.” Johnson, 290 S.W.3d at 894. Therefore, a court faced

   with a motion to compel appraisal lacks any discretion to deny it, assuming the party has timely

   invoked the process and otherwise complied with the policy. In re Allstate County Mut. Ins. Co., 85

   S.W.3d 193 (Tex. 2002) (orig. proceeding). Johnson, 290 S.W.3d at 888 (“While trial courts have

   some discretion as to the timing of an appraisal, they have no discretion to ignore a valid appraisal

   clause entirely.”); Vanguard Underwriters Ins. Co. v. Smith, 999 S.W.2d 448, 449 (Tex.

   App.—Amarillo 1999, no pet.) (mandamus will issue against a failure to order an appraisal in the

   proper circumstances). An appraisal clause binds the parties to have the extent or amount of the loss

   determined in a particular way. Johnson, 290 S.W.3d at 895.

12. The appraisal clause is thus mandatory and non-revocable and is specifically enforceable by either

   party.   See, e.g., Standard Fire Ins. Co. v. Fraiman, 514 S.W.2d 343, 344-46 (Tex. Civ.

   App.—Houston [14th Dist] 1974, no writ) (holding that an insured can enforce the appraisal provision

   against an unwilling insurer); Laas v. State Farm Mut. Ins. Co., 2000 WL 1125287, at *4-5 (Tex.

   App.—Houston [14th Dist] 2000, pet. denied) (holding the trial court has power to appoint an umpire

   when the parties’ appointed appraisers fail to do so).

13. In Allstate, the Texas Supreme Court explained that denying appraisal vitiates the insurer’s ability to

   defend against a breach of contract claim because appraisal goes to the heart of such a claim. Allstate,

   85 S.W.3d at 196. Accordingly, the Allstate Court granted mandamus relief when the trial court
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   denied a motion to compel appraisal, finding that the denial constituted an abuse of discretion and that

   the insurer lacked an adequate remedy by appeal.

14. The appraisal clause is a condition precedent to coverage for damages under property insurance

   policies. State Farm v. Johnson, 290 S.W.3d 886, 894 (Tex. 2009) (“…appraisal is intended to take

   place before suit is filed; [the Texas Supreme Court] and others have held that it is a condition

   precedent to suit.”). The Policy contains provisions that specifically condition coverage actions on

   compliance by the insured with policy conditions such as the appraisal clause.

15. Pursuant to the appraisal clause and the suit against us clause, compliance with the appraisal process is

   a condition precedent to coverage and to the validity of Plaintiff’s suit against Defendant. Either party

   can invoke appraisal. Both parties are bound by that invocation. Whether appraisal begins before or

   during litigation, the lawsuit must be abated.        Woodward v. Liberty Mut. Ins. Co., No. 3:09-

   CV-0228-G, 2010 WL 1186323 *3 (N.D. Tex. Mar. 26, 2010). "When one party to an insurance

   contract properly invokes the contract's appraisal clause ... a court should exercise its discretion to stay

   the suit pending completion of the appraisal." Woodward, 2010 WL 1186323 at *3; see also In re

   Slavonic Mut. Fire Ins. Ass'n, 308 S.W.3d 556, 565 (Tex. App.—Houston [14th Dist.] 2010, no pet.)

   ("[a] remedy to enforce a condition precedent in its policy is abatement of the case"); see also United

   Neurology, P A v. Hartford Lloyd's Ins. Co., No. H-10-4248, 2012 WL 423417 (S.D. Tex. Feb. 8,

   2012) (abating case while the appraisal goes forward); Rice v. Certain Underwriters at Lloyds, Civ. A.

   No. H-10-4660, 2011 WL 240421 (S.D. Tex. Jan. 21, 2011) (abating case until appraisal process is

   complete). There is no legal, contractual or case law support for an attempt to avoid the appraisal

   process.

16. If either party fails to comply with the appraisal clause, Plaintiff cannot recover under the Policy.

   Further, because the respective appraisal clauses are binding upon the respective parties, there can be

   no breach of contract action for failure to pay amounts in excess of the award. Scottish Union &
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   National Ins. Co. v. Clancy, 8 S.W. 630, 632 (Tex. 1888); Waterhill Cos. Ltd. v. Great American

   Assurance Co., 2006 WL 696577, slip op. at *2 (S.D. Tex. March 16, 2006); Brownlow v. United

   States Automobile Ass’n, 2005 WL 608252 (Tex. App.—Corpus Christi 2005, pet. denied); Breshears

   v. State Farm Lloyds, 155 S.W.3d 340, 344 (Tex. App.—Corpus Christi 2004, pet. denied);

   Providence Lloyds Ins. Co. v. Crystal City Indep. Sch. Dist., 877 S.W.2d 872, 878 (Tex. App.—San

   Antonio 1994, no writ).

17. The combination of the appraisal clause and the “suit against us” clause entitles either party to

   abatement of the insured’s action until the completion of the appraisal. Vanguard Underwriters Ins.

   Co. v. Smith, 999 S.W.2d 448, 449 (Tex. App.—Amarillo 1999, no pet) (the appraisal and no action

   clauses of the policy are unambiguous and enforceable, and the insureds could not sue before they

   complied with the appraisal clause).

18. The Policy provides a specific mechanism for resolution of disputes about the amount of loss. That

   mechanism is appraisal, and it is binding on all parties. As discussed by the courts in Waterhill,

   Brownlow, and Breshears, supra, if Defendant complies with the appraisal award, there can be no

   breach of contract, making Plaintiff’s suit unnecessary.         Therefore, abatement of any further

   proceedings in this lawsuit pending completion of the appraisal process promotes judicial efficiency.

   See Slavonic, 308 S.W.3d at 565; see also Butler v Prop. & Cas. Ins. Co. of Hartford, Civ. A. No

   H-10-3613, 2011 WL 2174965 (S.D. Tex. June 3, 2011) (holding that abatement of the case pending

   appraisal is appropriate and "in the interest of the efficient and inexpensive administration of justice").

                                                  IX.

                                    DAMAGES AND PRAYER

19. WHEREFORE, PREMISES CONSIDERED, Plaintiff herein, complains of Defendant and prays that

   Defendant be cited to appear and answer and that on a final trial on the merits, Plaintiff recover from

   Defendant the following:
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       a. Actual damages that Plaintiff has suffered as a result of Defendant refusing to participate in

           appraisal;

       b. Actual damages and benefit of the bargain from Defendant’s refusal to pay proper policy

           benefits;

       c. Attorney fees that Plaintiff has incurred as a result of Defendant refusing to participate in

           appraisal; and

       d. A court order requiring Defendant to participate in appraisal

                                                    X.

                   RESERVATION OF RIGHTS TO APPRAISAL PROCESS

20. Plaintiff has invoked appraisal prior to filing this lawsuit.

21. Furthermore, by filing this Petition Plaintiff again invokes appraisal and renews its requests for

   appraisal as further needed and maintains its rights to the appraisal process.

22. Plaintiff specifically reserve any rights to change, supplement, amend, and add or remove disputed

   items to present to the Appraisal Panel as these items are discovered during the appraisal process.

23. In the event the appraisers are unable to select an umpire during the time period allotted, Defendant is

   formally given notice that Plaintiff intends to ask this Court to select an independent umpire.

24. Defendant is given notice that this lawsuit is filed without any intent to waive any appraisal rights

   because this lawsuit is not relating the amount of loss.

25. More specifically, this is a lawsuit brought to prevent Defendant from continuing in its attempts to

   avoid participation in the appraisal process.

26. Plaintiff reserves all rights to seek any attorney fees and actual damages that Plaintiff incurred for

   having this Court compel the appraisal process.

                                                    XI.

                    PLAINTIFF MAKES 194 REQUESTS TO DEFENDANT
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27. Plaintiff makes 194.2 requests to Defendant.

28. In addition to the content subject to disclosure under Rule 194.2, Plaintiff requests disclosure of all

   documents, electronic information, and tangible items that the Defendant has in its possession,

   custody, or control and may use to support Defendant’s claims or defenses.



                                                   Respectfully Submitted,


                                                   DICK LAW FIRM, PLLC




                                                   Eric B. Dick, LL.M.
                                                   TBN: 24064316
                                                   FIN: 1082959
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                                                   (832) 207-2007 Office
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                                                   eric@dicklawfirm.com
                                                   ATTORNEY FOR PLAINTIFF
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                                   EXHIBIT “A”
                   PLAINTIFF’S FIRST SET OF INTERROGATORIES

                                             I.
                                        DEFINITIONS:

   1. “You” or “Your” means the party responding to these requests.

   2. “The Policy” means the insurance policy that is the basis of claims made against
      Defendant in this lawsuit.

   3. “Your Counsel” means the attorney or attorneys who are representing or have represented
      you either with regard to the claim or in this lawsuit.

   4. The Claim” means the insurance claim made the basis of the breach of contract claim
      made against Defendant in this lawsuit.

   5. “Written Communication” means the conveyance of information by a writing, whether by
      letters, e-mails, memoranda, handwritten notes and/or faxes.

   6. "Document" means letters, words or numbers or their equivalent, set down by
      handwriting, typewriting, printing, photostating, photographing, magnetic or electronic
      impulse, mechanical or electronic recording, or other form of data compilation. See Texas
      Rule of Evidence 1001(a). “Document” specifically includes information that exists in
      electronic or magnetic form.

   7. “Witness Statement” means the statement of any person with knowledge of relevant
      facts, regardless of when the statement was made, and is a (1) written statement signed or
      otherwise adopted or approved in writing by the person making it, or (2) a stenographic,
      mechanical, electrical, or other type of recording of a witness’s oral statement, or any
      substantially verbatim transcript of such recording. See Texas Rule of Civil Procedure
      192.3(h).

   8. “Date” means the exact date, month and year, if ascertainable, or, if not, the best
      available approximation.

                                            II.
                                      INSTRUCTIONS:

1. You are requested to produce photographs, video recordings and audio recordings that were
created or stored electronically.

2. Pursuant to Rule 196.4, you are requested to produce electronic or magnetic data responsive to
the Requests for Production below in tiff or pdf searchable format, including email, instant
message and pdf forms of the documents.
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                                         III.
                                   INTERROGATORIES

  1. Identify the persons involved in the investigation and handling of Plaintiff’s claim for
     insurance benefits arising from the claim subject of this suit, and include a brief
     description of the involvement of each person identified, their employer, and the date(s)
     of such involvement.

ANSWER:

  2. If you performed any investigative steps in addition to what is reflected in the claims file,
     please generally describe those investigative steps conducted by you or any of your
     representatives with respect to the facts surrounding the circumstances of the subject loss.
     Identify the persons involved in each step.

ANSWER:

  3. Identify by date, author, and result the reports generated as a result of your investigation.

ANSWER:

  4. State the following concerning notice of claim and timing of payment:
     a. The date and manner in which you received notice of the claim
     b. The date and manner in which you acknowledged receipt of the claim
     c. The date and manner in which you commenced investigation of the claim
     d. The date and manner in which you requested from the claimant all items, statements,
     and forms that you reasonably believed, at the time, would be required from the claimant
     e. The date and manner in which you notified the claimant in writing of the acceptance or
     rejection of the claim

ANSWER:

  5. Identify by date, amount and reason, the insurance payments made by you to the Plaintiff.

ANSWER:

  6. Has Plaintiff’s claim for insurance benefits been rejected or denied? If so, state the
     reasons for denying the claim.

ANSWER:

  7. Do you contend that appraisal is improper in this matter?

ANSWER:

  8. Do you contend that the Plaintiff has properly invoked appraisal?
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  9. Do you contend that Defendant should not communicate to any umpire ex parte?

ANSWER:

  10. What relationship do you have, if any, with any umpire that you or your appraiser has
      suggested?

ANSWER:

  11. What relationship do you have, if any, of the umpire selected or appointed in this
      appraisal?
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                             EXHIBIT “B”
         PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION

                                          I.
                                     DEFINITIONS:

1. “You” or “Your” means the party responding to these requests.

2. “The Policy” means the insurance policy that is the basis of claims made against
   Defendant in this lawsuit.

3. “Your Counsel” means the attorney or attorneys who are representing or have represented
   you either with regard to the claim or in this lawsuit.

4. The Claim” means the insurance claim made the basis of the breach of contract claim
   made against Defendant in this lawsuit.

5. “Written Communication” means the conveyance of information by a writing, whether by
   letters, e-mails, memoranda, handwritten notes and/or faxes.

6. "Document" means letters, words or numbers or their equivalent, set down by
   handwriting, typewriting, printing, photostating, photographing, magnetic or electronic
   impulse, mechanical or electronic recording, or other form of data compilation. See Texas
   Rule of Evidence 1001(a). “Document” specifically includes information that exists in
   electronic or magnetic form.

7. “Witness Statement” means the statement of any person with knowledge of relevant
   facts, regardless of when the statement was made, and is a (1) written statement signed or
   otherwise adopted or approved in writing by the person making it, or (2) a stenographic,
   mechanical, electrical, or other type of recording of a witness’s oral statement, or any
   substantially verbatim transcript of such recording. See Texas Rule of Civil Procedure
   192.3(h).

8. “Date” means the exact date, month and year, if ascertainable, or, if not, the best
   available approximation.

                                         II.
                                   INSTRUCTIONS:

1. You are requested to produce photographs, video recordings and audio recordings that
   were created or stored electronically.

2. Pursuant to Rule 196.4, you are requested to produce electronic or magnetic data
   responsive to the Requests for Production below in tiff or pdf searchable format,
   including email, instant message and pdf forms of the documents.
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                  PRODUCTION PROTOCOL RELATING TO
                 ELECTRONICALLY STORED INFORMATION
         (ESI ATTENDANT TO DISCOVERY REQUESTS TO DEFENDANT)

  1. “Information items” as used herein encompasses individual documents and records
     (including associated metadata) whether on paper or film, as discrete “files” stored
     electronically, optically, or magnetically or as a record within a database, archive, or
     container file. The term should be read broadly to include e-mails, messaging, word
     processed documents, digital presentations, and spreadsheets.

  2. Consistent with Texas Rule of Civil Procedure 196.4, responsive electronically stored
     information (ESI) has been requested by Plaintiff in its native form; that is, in the form in
     which the information was customarily created, used, and stored by the native application
     employed by the producing party in the ordinary course of business. The producing party
     shall not produce in a format not requested and later assert that production as a basis of
     not producing in the requested format, except upon agreement by the parties prior to
     production or ordered by the Court. The parties are reminded of their obligation to confer
     and to make reasonable efforts to resolve disputes regarding production without court
     intervention. See In re Weekly Homes, L.P., 295 S.W.3d 309 (Tex.2009); TEX. R. CIV.
     P. 192.4(b).

  3. If it is infeasible or unduly burdensome to produce an item of responsive ESI in its native
     form, it may be produced in an agreed-upon near-native form; that is, in a form in which
     the item can be imported into the native application without a material loss of content,
     structure, or functionality as compared to the native form. Static image production
     formats serve as near-alternatives only for information items that are natively static
     images (i.e., photographs and scans). Any and all agreements between the parties on a
     non-native form of production shall occur prior to initial production and the agreements
     shall be in writing. If no agreement can be made between the parties, consistent with
     Texas Rule of Civil Procedure 196.4, Defendant(s) will object and file with the Court
     evidence that production in native or near-native form is unduly burdensome or requires
     extraordinary steps. In the event the Court determines that production in native or near-
     native format is infeasible, production shall be made in accordance with the instruction of
     this Protocol.

  4. The table below supplies examples or agreed-upon native or near-native forms in which
     specific types of ESI should be produced:

Source ESI                             Native or Near Native Form or Forms Sought

Microsoft Word documents               .DOC, .DOCX
Microsoft Excel Spreadsheets           .XLS, .XLSX
Microsoft PowerPoint
Presentations                          .PPT, .PPTX
Microsoft Access Databases             .MDB, .ACCDB
WordPerfect Documents                  .WPD
Adobe Acrobat Documents                .PDF
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Photographs                             .JPG, .PDF
E-mail                                  Messages should be produced in a form or forms that
                                        readily support import into standard e-mail client
                                        programs; that is, the form of production should adhere
                                        to
                                        the conventions set out in RFC 5322 (the internet e-mail
                                        standard). For Microsoft Exchange or Outlook
                                        messaging, .PST format will suffice. Single message
                                        production formats like .MSG or .EML may be
                                        furnished, if source foldering data is preserved and
                                        produced. For Lotus Notes mail, furnish .NSF files or
                                        convert to .PST. If your workflow requires that
                                        attachments be extracted and produced separately from
                                        transmitting messages, attachments should be produced
                                        in their native forms with parent/child relationships to
                                        the
                                        message and container(s) preserved and produced in a
                                        delimited text file.


  5. Absent the showing of need, a party shall only produce reports from databases that can be
     generated in the ordinary course of business (i.e., without specialized programming
     skills), and these shall be produced in a delimited electronic format preserving field and
     record structures and names. The parties will meet and confer prior to initial production
     regarding programming database productions as necessary.

  6. Information items that are paper documents or that require redaction shall be produced in
     static image formats, e.g., single-page .TIF or multipage .PDF images. If an information
     item contains color, the producing party shall not produce the item in a form that does not
     display color. The full content of each document will be extracted by optical character
     recognition (OCR) or other suitable method to a searchable text file produced with the
     corresponding page image(s) or embedded within the image file.

  7. Parties shall take reasonable steps to ensure that text extraction methods produce usable,
     accurate, and complete searchable text.

  8. Individual information items requiring redaction shall (as feasible) be redacted natively
     or produced in .PDF format and redacted using the Adobe Acrobat redaction feature.
     Redactions shall not be accomplished in a manner that serves to downgrade the ability to
     electronically search the unredacted portions of the item. To the extent a producing party
     asserts that production in .PDF format and redaction using the Adobe Acrobat redaction
     feature is unfeasible, the parties are directed to confer in an attempt to resolve any dispute
     without Court intervention. If the dispute cannot be resolved between the parties, the
     manner of production can be brought before the Court consistent with TEX. R. CIV. P.
     196.4.
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9. Upon a showing of need, a producing party shall make a reasonable effort to locate and
   produce the native counterpart(s) of any .PDF or .TIF document produced. The parties
   agree to meet and confer prior to initial production regarding production of any such
   documents. This provision shall not serve to require a producing party to reveal redacted
   content.

10. Except as set out in this Protocol, a party need not produce identical information items in
    more than one form and shall globally de-duplicate identical items across custodians
    using each document’s unique MD5 hash value. The content, metadata, and utility of an
    information item shall all be considered in determining whether information items are
    identical, and items reflecting different information shall not be deemed identical.

11. Production should be made using appropriate electronic media of the producing party’s
    choosing provided that the production media chosen not impose undue burden or expense
    upon a recipient. All productions should be encrypted for transmission to the receiving
    party. The producing party shall, contemporaneously with production, supply decryption
    credentials and passwords to the receiving party for all items produced in an encrypted or
    password-protected form.

12. Each information item produced shall be identified by naming the item to correspond to a
    Bates identifier according to the following protocol:

       •   The first four (4) characters of the filename will reflect a unique alphanumeric
           designation identifying the party making the production

       •   The next nine (9) characters will be a unique, consecutive numeric value assigned
           to the time by the producing party. This value shall be padded with leading zeros
           as needed to preserve its length

       •   The final five (5) characters are reserved to a sequence beginning with an
           underscore(_) followed by a four digit number reflecting pagination of the item
           when printed to a paper or converted to an image format for use in proceedings or
           when attached as exhibits to pleadings.

       •   By way of example, a Microsoft Word document produced by Joe Johnson in its
           native form might be named: JJSN000000123.docx. Were the document printed
           out for use in deposition, page six of the printed item must be embossed with the
           unique identifier JJSN000000123_0006.

13. Information items designated Confidential may, at the Producing Party’s option:

       •   Be separately produced on electronic production media prominently labeled
           confidential to comply with a Protective Order, if applicable.

       •   When any item so designated is converted to a printed format for any reason or
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          imaged format for use in any submission or proceeding, the printout or page
          image shall bear be labeled confidential on each page in a clear and conspicuous
          manner, but not so as to obscure content.

14. Producing party shall furnish a delimited load file supplying the metadata field values
    listed below for each information item produced (to the extent the values exist and as
    applicable)

  FIELD

  BeginBates

  EndBates

  BeginAttach

  EndAttach

  Custodian/Source

  Source File Name

  Source File Path

  From/Author

  To

  CC

  BCC

  Date Sent

  Time Sent

  Subject/Title

  Last Modified Date

  Last Modified Time

  Document Type

  Redacted Flag (yes/no)

  Hidden Content/Embedded Objects Flag (yes/no)

  Confidential flag (yes/no)
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       MD5Hash value

       Hash De-Duplicated Instances (by full path)

   15. Each production should include a cross-reference load file that correlates the various
       files, images, metadata field values and searchable text produced.

   16. Parties shall respond to each request for production by listing the Bates numbers/ranges
       or responsive documents produced, and where an information item responsive to these
       discovery requests has been withheld or redacted on a claim that it is privileged, the
       producing party shall furnish a privilege log in accordance with Texas Rule of Civil
       Procedure 193.3.

                                      III.
                     REQUEST FOR PRODUCTION OF DOCUMENTS

1. The claim files from the home, regional, local offices, and third party adjusters/adjusting firms
regarding the claim that is the subject of this matter, including copies of the file jackets, “field”
files and notes, and drafts of documents contained in the file.

RESPONSE:

2. If you seek to recover attorney’s fees in this lawsuit, please produce your attorney fee
agreement, your attorney fee statements and invoices, any time-keeping records kept by you or
your attorney, and your checks for payment of attorney’s fees or expenses.

RESPONSE:

3. The underwriting files referring or relating in any way to the policy at issue in this action,
including the file folders in which the underwriting documents are kept and drafts of all
documents in the file.

RESPONSE:

4. A certified copy of the insurance policy pertaining to the claims involved in this suit.

RESPONSE:

5. For the last two years, your written procedures or policies (including document(s) maintained
in electronic form) that pertain to the handling of claims in Texas.

RESPONSE:

6. Contracts between you and the appraiser hired by you in this matter.

RESPONSE:
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7. The emails, instant messages, and internal correspondence pertaining to Plaintiff’s underlying
claim.

RESPONSE:

8. The Plaintiff’s file from the office of their insurance agent.

RESPONSE:

9. The documents reflecting reserves applied to the subject claim.

RESPONSE:

10. For the past three years, the portions of the personnel file of the adjuster(s) involved in
handling Plaintiff’s claim that pertain to disciplinary actions associated with claims handling,
and performance under a bonus or incentive plan.

RESPONSE:

11. For the last three years, the managerial bonus or incentive plan for managers responsible for
claims.

RESPONSE:

12. The Complaint Log required to be kept by you for complaints in Texas filed over the past
three years.

RESPONSE:

13. As relating to this underlying lawsuit, produce the responses, including all documents you
have received, to all requests you have made for Deposition by Written Questions.

RESPONSE:

14. If you are requesting Plaintiff pay for your costs and/or expenses incurred as a result of this
litigation, produce all invoices, statements, payment vouchers, payment records, checks, and
proof of payment of all costs and/or expenses that you are claiming Plaintiff should be
responsible for.

RESPONSE:

15. Your preferred umpire list.

RESPONSE:
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                                  EXHIBIT “C”
               PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSION

                                              I.
                                         DEFINITIONS:

1. “You” or “Your” means the party responding to these requests.

2. “The Policy” means the insurance policy that is the basis of claims made against
DEFENDANT in this lawsuit.

3. “Insured Location” means the real property at the location described in the Policy declarations.

4. “Dwelling” means the dwelling located at the Insured Location at the time of the claim subject
of this suit.

5. “Other Structures” means any structures located at the Insured Location during the claim
subject of this suit that are set apart from the Dwelling by a clear space, including those
connected only by a fence, utility line, or similar connection.

6. “Other Damages” means debris removal, temporary repairs, tree and shrub removal, personal
property removal and storage, loss of use and additional living expenses.

7. “Personal Property” means any or all of the personal property and business personal property
that is the subject of the claims made against DEFENDANT in this lawsuit.

8. “Your Counsel” means the attorney or attorneys who are representing or have represented you
either with regard to the claim or in this lawsuit.

9. “The Claim” means the insurance claim made the basis of the breach of contract claim made
against DEFENDANT in this lawsuit.

10. “Written Communication” means the conveyance of information by a writing, whether by
letters, e-mails, memoranda, handwritten notes and/or faxes.

11. "Document" means letters, words or numbers or their equivalent, set down by handwriting,
typewriting, printing, photostating, photographing, magnetic or electronic impulse, mechanical
or electronic recording, or other form of data compilation. See Texas Rule of Evidence 1001(a).
“Document” specifically includes information that exists in electronic or magnetic form.

12. “Witness Statement” means the statement of any person with knowledge of relevant facts,
regardless of when the statement was made, and is a (1) written statement signed or otherwise
adopted or approved in writing by the person making it, or (2) a stenographic, mechanical,
electrical, or other type of recording of a witness’s oral statement, or any substantially verbatim
transcript of such recording. See Texas Rule of Civil Procedure 192.3(h).
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13. “Date” means the exact date, month and year, if ascertainable, or, if not, the best available
approximation.

                                              II.
                                        INSTRUCTIONS:

       PLAINTIFF serves these requests for admissions on DEFENDANT, as allowed by Texas
Rule of Civil Procedure 198.

                                          III.
                                REQUESTS FOR ADMISSION


1.     PLAINTIFF has invoked the appraisal.

ANSWER:

2.     DEFENDANT has a preferred list of umpires.

ANSWER:

3.     PLAINTIFF has not waived its rights to appraisal.

ANSWER:

4.     DEFENDANT has refused to participate in appraisal.

ANSWER:

5.     PLAINTIFF has demanded appraisal prior to filing this lawsuit.

ANSWER:

6.     The insurance policy at issue has an appraisal provision.

ANSWER:

7.     DEFENDANT is not seeking for PLAINTIFF to pay for DEFENDANT’S attorney fees.

ANSWER:

8.     DEFENDANT is not seeking for PLAINTIFF to pay for DEFENDANT’S costs
       associated with this lawsuit.

ANSWER:
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                                   Exhibit “D”
                 PLAINTIFF'S DESIGNATION OF EXPERT WITNESSES

NOW COMES, Plaintiff who files this, it’s Designation of Expert Witnesses, and designates the
following expert witnesses, one or more of whom may testify at trial:

                                                I.
Plaintiff may call the following experts who are not retained:

   1. Richard Gadrow
      30719 Meadow Edge Drive
      Magnolia, Texas 77354
      General Contractor/Estimator

The above-named witnesses may be called to testify as property experts with regard to the
nature, existence of damage, loss cause (ie: hail, storm, etc), and value of Plaintiff’s property and
similar property. He may also offer testimony concerning the estimates and reports prepared by
individuals utilized by Plaintiff in connection with their claim.

Said expert will base opinions on his respective training, education, experience, and review of
the reports, estimates, and data, and other documents previously produced or to be produced in
this case and each respective inspection of said property. His estimates will be supplemented
and are incorporated by reference.

He is an estimator who is expected to testify regarding his investigation and handling of
Plaintiff’s claim, including the cause, origin, scope of damage and costs of repair. He will testify
that he properly identified and estimated the scope and amount of damage made the basis of
Plaintiff’s claim subject to this lawsuit.

His opinions are within his claim report, deposition, estimate and claim correspondence – if any.
His mental impressions and opinions are based on his training, experience, inspection and
personal knowledge of his investigation and handling of the claim.

His is expected to opine the following: (1) the insured location sustained covered wind and/or
hail damage during the effective policy period and the proper scope of repairs to address the
aforementioned damages is reflected in the estimate previously produced or to be produced ; (2)
evidence of covered damages warranting replacement of the estimated damages was obvious and
reasonably clear during his site inspection and an insurance carrier adjusting this claim
reasonably and in good faith either knew or should have known to identify and accept coverage
for the aforementioned reasonably clear damages; (3) to the extend Defendant failed to
acknowledge and accept coverage for the aforementioned reasonably clear damage, Defendant
adjusted this claim in bad faith; (4) Defendant did not fully indemnify the insured for his/her loss
and he/she has not been paid to restore the insured’s property back to pre-loss condition; and (5)
the insured was underpaid for this claim and Defendant knew or should have known that its
claim decision constituted an unfair denial because evidence of covered damages warranting
further coverage at all times was reasonably clear during its claim investigation.

Plaintiff will supplement documents for a complete statement of this experts findings and
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opinions, the investigation he performed herein, and the facts and data considered by him in
forming those findings and opinions

His report and resume will be supplemented if not attached.

Additional information he used in making any opinions, if any, will be supplemented if not
attached.

   2. Scott Berkenkamp
      5315 Browniee Lane
      Spring, Texas 77379
      Appraiser

The above-named witnesses may be called to testify as property experts with regard to the
nature, existence of damage, loss cause (ie: hail, storm, etc), and value of Plaintiff’s property and
similar property. He may also offer testimony concerning the estimates and reports prepared by
individuals utilized by Plaintiff in connection with their claim.

Said expert will base opinions on his respective training, education, experience, and review of
the reports, estimates, and data, and other documents previously produced or to be produced in
this case and each respective inspection of said property. His estimates will be supplemented
and are incorporated by reference.

He is an appraiser who is expected to testify regarding his investigation and handling of
Plaintiff’s claim, including the cause, origin, scope of damage and costs of repair. He will testify
that he properly identified and estimated the scope and amount of damage made the basis of
Plaintiff’s claim subject to this lawsuit.

His opinions are within his claim report, deposition, estimate and claim correspondence – if any.
His mental impressions and opinions are based on his training, experience, inspection and
personal knowledge of his investigation and handling of the claim.

He may opine the following: (1) the insured location sustained covered wind and/or hail damage
during the effective policy period and the proper scope of repairs to address the aforementioned
damages is reflected in the estimate previously produced or to be produced ; (2) evidence of
covered damages warranting replacement of the estimated damages was obvious and reasonably
clear during his site inspection and an insurance carrier adjusting this claim reasonably and in
good faith either knew or should have known to identify and accept coverage for the
aforementioned reasonably clear damages; (3) to the extend Defendant failed to acknowledge
and accept coverage for the aforementioned reasonably clear damage, Defendant adjusted this
claim in bad faith; (4) Defendant did not fully indemnify the insured for his/her loss and he/she
has not been paid to restore the insured’s property back to pre-loss condition; and (5) the insured
was underpaid for this claim and Defendant knew or should have known that its claim decision
constituted an unfair denial because evidence of covered damages warranting further coverage at
all times was reasonably clear during its claim investigation.

Plaintiff will supplement documents for a complete statement of this experts findings and
opinions, the investigation he performed herein, and the facts and data considered by him in
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forming those findings and opinions

His report and resume will be supplemented if not attached.

Additional information he used in making any opinions, if any, will be supplemented if not
attached.

   3. Robert W. Von Dohlen
      112 West 4th Street
      Houston, Texas 77007
      Bad Faith Expert

Said expert will base opinions on his respective training, education, experience, and review of
the reports, insurance application, claim file, and data, and other documents previously produced
or to be produced in this case.

The above-named witnesses may be called to testify as insurance professional with regard to
what a reasonable and prudent insurance adjuster and/or insurance company would have done in
processing the insurance claim subject to this lawsuit. More so, what actions taken by an
insurance company and its agents constitute good faith and/or bad faith. Said expert will base
opinions on their respective training, education, experience, and review of the insurance policy
application, data, and other documents previously produced or to be produced in this case.

He is a licensed attorney and licensed adjuster who is expected to testify regarding his
investigation and Defendant’s handling of Plaintiff’s claim. It is expected that he will testify that
the Defendant did not exercise good faith while adjusting Plaintiff’s claim.

He will testify that it is his experience that an insurance company while acting in good faith will
look for ways that an insurance policy will pay benefits. Basically, he will testify that it is
common practice for insurance companies to give policy holders the benefit of the doubt. His
opinions are that the underlying claim was handled in bad faith because Defendant was looking
for ways to avoid paying policy benefits. More specifically, that a sign of an insurance company
acting in bad faith is when they give little to no weight as to the facts and circumstances as
depicted by the insured. Finally, he will testify that the insurance carrier participated in appraisal
in bad faith.

His opinions are within his claim report, deposition, and claim correspondence – if any. His
mental impressions and opinions are based on his training, experience, inspection and personal
knowledge of his investigation and reviewing the handling of the claim.

The above-named witnesses may be also called to testify as insurance professional and legal
expert with regard to what constitutes a valid defense of fraud. More specifically, he will testify
that the Defendant would be incorrect is claiming fraud because there is a lack of materiality
and/or there no material evidence showing intent to deceive on behalf of the insured.

Plaintiff will supplement documents for a complete statement of his findings and opinions, the
investigation he performed herein, and the facts and data considered by him in forming those
findings and opinions.
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The above-named witnesses may be called to testify as property experts with regard to the
nature, existence of damage, cause, and value of Plaintiff’s property and similar property. He
may also offer testimony concerning the estimates and reports prepared by individuals utilized
by Plaintiff in connection with their claim. He may also provide an opinion as to the causation
of damages. Said experts will base opinions on their respective training, education, experience,
and review of the reports, estimates, and data, and other documents previously produced or to be
produced in this case and each respective inspection of said property. His estimates will be
supplemented and are incorporated by reference.

His report and resume, if any, will be supplemented if not attached.

Additional information he used in making any opinions will be supplemented


   4. Pooya Koohbanani
      1001 Belleview Street, Suite 308
      Dallas, Texas 75215

The above-named witnesses may be called to testify with regard to the causation, nature,
existence of damage at the insured property Said expert will base opinions on their respective
training, education, experience, and review of the reports, and data, and other documents
previously produced or to be produced in this case. His reports, if not attached, with be produced
and are incorporated by reference. His resume is available at the above indicated website.

His opinions are within his claim report, deposition, estimate and claim correspondence – if any.
His mental impressions and opinions are based on his training, experience, inspection and
personal knowledge of his investigation and handling of the claim.

Pooya M. Koohbanani is an engineer who is expected to opine as follows: an event (ie: hail or
high winds) occurred at the insured location during the policy period and said event caused
damaged to the insured property.

Plaintiff will supplement documents, if not attached, for a complete statement of Pooya M.
Koohbanani’s findings and opinions, the investigation he performed herein, and the facts and
data considered by him in forming those findings and opinions.


Plaintiff may call the following experts who are retained:

   5. Eric Dick, LL.M.
      Rogelio Garcia (of Counsel)
      Chris Carmona (of Counsel)
      Dick Law Firm, PLLC
      3701 Brookwoods Dr.
      Houston, Texas 77092
      (832) 207-2007
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       (713) 893-6931 Fax
       www.dicklawfirm.com

The above attorneys may be called by plaintiff to testify as an expert witness at the trial of this
action, pursuant to Rule 702, Tex. R. Evid., on topics of reasonable and necessary attorney’s fees
incurred or recoverable by any party to this lawsuit. Such expert is familiar with the average and
reasonable attorney fees usually and customarily charged by attorneys in various Texas Counties
for the handling of similar claims. The expert identified are aware of the various necessary
efforts expended in prosecuting this suit on behalf of plaintiff, and the reasonable charges
therefore, and are expected to testify that the attorney’s fees incurred by plaintiff in its pursuit of
this matter are reasonable and necessary, and that the attorney’s fees incurred by defendant may
not be reasonable or necessary.

Information regarding Eric Dick:

College:               Thomas M. Cooley
Degree:                Juris Doctorate
Distinctions:          Cum Laude
College:               University of Alabama
Degree:                Masters of Laws and Letters

Notable information: Interned for Michigan’s Attorney General in the Tobacco and Special
Litigation Division and worked on the Master Settlement Agreement which is the largest civil
settlement in United States history. Named by Super Lawyers as a Rising Star.

Mr Dick’s report and resume, if not attached, will be provided to Defendant and are incorporated
by reference.

The mental impressions and opinions are that fees and costs associated with this litigation are
reasonable, necessary and customary in this county and surrounding counties. A reasonable fee
to be charged in this case is $450.00 per hour in consideration with several factors, including:

   •   The nature and complexity of the case;
   •   The nature of the services provided by counsel;
   •   The time required for trial;
   •   The amount of money involved;
   •   The client’s interest that is at stake;
   •   The responsibility imposed on counsel;
   •   The skill and expertise involved; and
   •   Those matters enumerated in State Bar Rule 1.04(b) (1)-(8), which are:
          o The time and labor required, the novelty and difficulty of the questions presented
              and the skill required to perform the legal services properly;
          o The likelihood, if apparent to the client, that acceptance of the particular
              employment will preclude other employment by the lawyer;
          o The fee customarily charged in the locality for similar legal services;
          o The amount involved and the results obtained;
          o The time limitations imposed by the client or the circumstances;
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          o The nature and length of the professional relationship with the client;
   •   The experience, reputation and ability of the lawyer or lawyers performing the service.

Plaintiff may call the following expert who is not retained:

   6. Greg Degeyter
      9898 Bissonnet, Suite 620
      Houston, Texas 77036
      Meteorologist
      (713) 505-0524

The above-named witnesses may be called to testify as weather events with regard to the nature,
existence of wind and hail at the insured property Said expert will base opinions on their
respective training, education, experience, and review of the reports, and data, and other
documents previously produced or to be produced in this case. His reports, if not attached, with
be produced and are incorporated by reference.

Greg Degeyter is a meteorologist who is expected to testify that hail or high winds occurred at
the insured location during the policy period.

Greg Degeyter’s opinions are within his claim report, deposition, estimate and claim
correspondence – if any. His mental impressions and opinions are based on his training,
experience, inspection and personal knowledge of his investigation and handling of the claim.

Plaintiff will supplement documents, if not attached, for a complete statement of Greg Degeyter
findings and opinions, the investigation he performed herein, and the facts and data considered
by him in forming those findings and opinions.

                                                 II.

Plaintiff reserves the right to supplement this designation further within the time limitations
imposed by the Court and/or by any alterations of same by subsequent Court order and/or by
agreement of the parties and/or pursuant to the Texas Rules of Civil Procedure and/or the Texas
Rules of Evidence.

                                                III.

Plaintiff reserves the right to withdraw the designation of any expert witness and to aver
positively that such previously designated expert will not be called as an expert witness at trial
and to re-designate same as a consulting expert, who cannot be called by opposing counsel.

                                                IV.

Plaintiff reserves the right to elicit by cross-examination the opinion testimony of experts
designated and called by other parties to this suit.

                                                 V.
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Plaintiff reserves the right to call undesignated expert witnesses for rebuttal or impeachment,
whose identities and testimony cannot reasonably be foreseen until Defendants have named their
experts or presented its evidence at trial.

                                                VI.

Plaintiff reserves the right to elicit any expert testimony and/or lay opinion testimony that would
assist the jury in determining material issues of fact and that would not violate the Texas Rules
of Civil Procedure and/or the Texas Rules of Evidence.


                                               VII.

Plaintiff hereby designates and may call to testify as adverse witnesses any and all witnesses
designated by Defendants hereto and any and all expert witnesses designated by any party,
whether or not such person or entity is still a party hereto at the time of trial.

                                               VIII.

Plaintiff reserves all additional rights he may have with regard to expert witnesses and testimony
under the Texas Rules of Civil Procedure, the Texas Rules of Evidence, statutes, case law, any
orders issued by this Court or leave granted therefrom.

                                                       Respectfully Submitted,




                                                       Eric B. Dick, LL.M.
                                                       TBN: 24064316
                                                       FIN: 1082959
                                                       DICK LAW FIRM, PLLC
                                                       3701 Brookwoods Drive
                                                       Houston, Texas 77092
                                                       (832) 207-2007 Office
                                                       www.dicklawfirm.com
                                                       eric@dicklawfirm.com
                                                       ATTORNEY FOR PLAINTIFF
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                                   CAUSE NO. ______________

MICHAEL IHEKORONYE,                                 §                IN THE DISTRICT COURT
  Plaintiff,                                        §
                                                    §
v.                                                  §                       JUDICIAL DISTRICT
                                                    §
UNITED PROPERTY AND                                 §
CASUALTY INSURANCE COMPANY,                         §
  Defendants.                                       §            FORT BEND COUNTY, TEXAS

                                        EXHIBIT E
                            PLAINTIFF’S BINDING STIPULATION

          COMES NOW Plaintiff by and through his/her attorney, who stipulates as follows:

     1.      The total sum or value in controversy in this cause of action does not exceed

             $75,000.00 exclusive of interest and costs.

     2.      The total damages sought by the Plaintiff in this cause of action does not exceed

             $75,000.00 exclusive of interest and costs.

     3.      Neither Plaintiff nor his/her attorney will accept an amount that exceeds $75,000.00

             exclusive of interest and costs.

     4.      Neither Plaintiff nor his/her attorney will amend his/her petition after one year to

             plead an amount in controversy in excess of $75,000.00, exclusive of interest and

             costs.

     5.      Neither Plaintiff nor his/her attorney will authorize anyone on his/her behalf or

             his/her future heirs and/or assigns, to make such an amendment.

     6.      Plaintiff and his/her attorney understand and agree that Plaintiff’s recovery is limited

             to an amount less than $75,000.00 exclusive of interest and costs.

                                                        Signed on July 29, 2019

                                                        DICK LAW FIRM, PLLC
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                                      Eric B. Dick, LL.M.
                                      TBN: 24064316
                                      FIN: 1082959
                                      DICK LAW FIRM, PLLC
                                      3701 B rookwoods Drive
                                      Houston, Texas 77092
                                      (832) 207-2007 Office
                                      www.dicklawfirm.com
                                      ATTORNEY FOR PLAINTIFF




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              Case 4:19-cv-03426 Document 1-2 Filed on 09/11/19 in TXSD Page 35 of 62                                          7/29/2019 7:08 PM
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                                                                                                                        - - - - - Vasquez
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                         MICHAEL IHEKORONYE V. UNITED PROPERTY & CASUALTY INSURANCE COMPANY
              STYLED _ _ _~~~~~~~~~~~~~~~~~~~~~==~~~~~~~~~---------
                                  (e.g., Jolm Smith v. All American Insmance Co; In re lvla1y Ann Jones; In the Matter ofthe Estate of George Jackson)
A civil case infonnation sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The infonnation should be the best available at
the time of filing
1. Contact information for person completing case information sheet:                    Names of parties in case:                                    Person or entity completing sheet is:
      ERIC B. DICK                                                                                                                                  0Attomey for Plaintiff/Petitioner
Name: DICK LAW FIRM,                  Email:                                            Plaintiff( s)/Petitioner( s):                               OPro Se Plaintiff/Petitioner
                                                                                                                                                    0Title IV-D Agency
      ATTORNEY                       dickdidit911@gmail.com                              MICHAEL IHEKORONYE                                         OOther:

Address:                                    Telephone:
                                                                                                                                                    Additional Parties in Child Support Case:
 3701 BROOKWOODS DR.                            (832)      207-2007
                                                                                        Defendant(s)/Respondent(s):                                 Custodial Parent:
                                            Fax:
City/State/Zip:                                                                         UNITED PROPERTY & CASUALTY
HOUSTON, TX 77092                             (7l3)       893-6931
                                                                                         INSURANCE COMPANY                                          Non-Custodial Parent:




nLJ                       State                    Bar No:

                                             24064316

2. Indicate case type, or identify the most important issue in the case (select only 1):
                                                   Civil
                                                                                        {Attach additional page ns necessary to list all parties]
                                                                                                                                                    Presumed Father:




                                                                                                                                                        Family Law
                                                                                                                                                                  Post-judgment Actions
            Contract                      Injury or Damage                           Real Property                           Marriage Relationship                   (non-Title XV-D)
Debt/Contract                         OAssault/Battery                         OEminent Domain/                             0Annulment                          OEnforcement
   0Consumer/DTPA                     0Constmction                               Condemnation                               0Declare Marriage Void              0Modification-custody
   ODebt/Contract                     ODefamation                              0Partition                                   Divorce                             0Modification-Other
   0Fraud/Misrepresentation           Malpractice                              DQuiet Title                                     0With Children                          TitlelV-D
   OOther Debt/Contract:                 OAccounting                           0Trespass to Try Title                           ONo Children                    D Enforcement/Modification
                                         OLegal                                D Other Property:                                                                OPatemity
Foreclosure                              0Medical                                                                                                               0Reciprocals (UIFSA)
  OHome Equity-Expedited                 D Other Professional                                                                                                   0Support Order
  OOther Foreclosure                       Liability:
OFranchise                                                                        Related to Criminal
Olnsurance                            0Motor Vehicle Accident                           Matters                                Other Family Law                  Parent-Child Relationship
OLandlord/Tenant                      OPremises                                OExpunction                                   OEnforce Foreign                   0Adoption!Adoption with
ON on-Competition                     Product Liability                        0Judgment Nisi                                  Judgment                           Termination
OPartnership                            0Asbestos/Silica                       ON on-Disclosure                              OHabeas Corpus                     0Child Protection
D Other Contract:                       0 Other Product Liability              D Seizure/Forfeiture                          0Name Change                       0Child Support
                                          List Product:                        0Writ of Habeas Corpus-                       OProtective Order                  0Custody or Visitation
                                                                                 Pre-indictment                              0Removal of Disabilities           0Gestational Parenting
                                      OOther Injury or Damage:                 OOther:                                         of Minority                      0Grandparent Access
                                                                                                                             OOther:                            0Parentage/Paternity
                                                                                                                                                                0Tennination of Parental
        Employment                                                   Other Civil                                                                                   Rights
                                                                                                                                                                OOther Parent-Child:
ODiscrimination                        0Administrative Appeal                OLawyer Discipline
ORetaliation                           0Antitmst/Unfair                      OPerpetuate Testimony
0Termination                             Competition                         D Securities/Stock
0Workers' Compensation                 0Code Violations                      0Tortious Interference
D Other Employment:                    OForeign Judgment                     OOther:
                                       Olntellectual Property

            Tax                                                                                   Probate & .Mental Health
 0Tax Appraisal                        Probate/Wills/Intestate Administration                                       0 Guardianship-Adult
 OTax Delinquency                          0Dependent Administration                                                D Guardianship-Minor
 OOtherTax                                 Olndependent Administration                                              OMental Health
                                           0 Other Estate Proceedings                                               OOther:

3. Indicate procedure or remedy, if applicable (may select more titan I):
 0Appeal from Municipal or Justice Court                     ODeclaratory Judgment                               OPrejudgment Remedy
 0Arbitration-related                                        0Gamishment                                         OProtective Order
 OAttaclunent                                                D Interpleader                                      0Receiver
 0Bill of Review                                             OLicense                                            0Sequestration
 0Certiorari                                                 OMan damus                                          OTemporary Restraining Order/Injunction
 0Class Action                                               0Post-judgment                                      0Tumover
4. Indicate damages sought (do not select if it is a .family lmv case):
 OLess than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attomey fees
 OLess than $100,000 and non-monetary relief
 DOver $100, 000 but not more than $200,000
 DOver $200,000 but not more than $1,000,000
 DOver $1,000,000
                                                                                                                                                                                   Rev 2/13
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                                         THE STATE OF TEXAS

                                                CITATION

TO:     UNITED PROPERTY AND CASUALTY INSURANCE COMPANY
        CT CORPORATION SYSTEM
        1999 BRYAN STREET SUITE 900
        DALLAS TX 75201-3136

NOTICE:

You have been sued. You may employ an attorney. If you or your attorney do not file a written answer
with the clerk who issued this citation by 10:00 a.m. on Monday next following the expiration of twenty
days after you were served this citation and PLAINTIFF'S ORIGINAL PETITION filed on July 29, 2019, a
default judgment may be taken against you.

The case is presently pending before the 268TH JUDICIAL DISTRICT COURT of Fort Bend County
sitting in Richmond, Texas. It bears cause number 19-DCV-264976 and is styled:

MICHAEL IHEKORONYE VS UNITED PROPERTY AND CASUALTY INSURANCE COMPANY

The name and address of the attorney for PLAINTIFF is:

ERIC B DICK
DICK LAW FIRM PLLC
3701 BROOKWOODS DRIVE
HOUSTON TX 77092
832-207-2007

The nature of the demands of said PLAINTIFF is shown by a true and correct copy of the PLAINTIFF'S
ORIGINAL PETITION accompanying this citation and made a part hereof.

If this Citation is not served, it shall be returned unserved. Issued under my hand and seal of said Court,
at Richmond, Texas, on this the 31st day of July, 2019.

                                                 DISTRICT CLERK BEVERLEY MCGREW WALKER
                                                 FORT BEND COUNTY, TEXAS
                                                 Physical Address:
                                                 1422 Eugene Heimann Circle, Room 31004
                                                 Richmond, Texas 77469
                                                 Mailing Address:
                                                 301 Jackson Street, Room 101
                                                 Richmond, Texas 77469

                                                 By:
                                                       Deputy District Clerk DONALD EVANS
                                                       Telephone: (281) 238-3276




                                                ORIGINAL
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19-DCV-264976                                      268th Judicial District Court
Michael Ihekoronye vs United Property and Casualty Insurance Company

                                 OFFICER’S OR AUTHORIZED PERSON’S RETURN

          Came to hand on the                        day of                                       , 20     , at       o’clock        ___M.
          Executed at                                                                                        , within the County of
                                                                              , at       o’clock ___M. on the                       day of
                                          , 20    , by delivering to the within named
                                                                              , in person, a true copy of this citation together
with the accompanying copy of the petition, having first attached such copy of such petition to such copy
of citation and endorsed on such copy of citation the date of delivery.

Total fee for serving           citation at $80.00 each $


                                                                      Name of Officer or Authorized Person

                                                                                                                      County, Texas

                                                                  By:
                                                                         Signature of Deputy or Authorized Person
*State day and hour and place of serving each person.

COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the return. The
signature is not required to be verified. If the return is signed by a person other than a sheriff, constable, or the clerk of the court,
the return shall be signed under penalty of perjury and contain the following statement:

“My name is                                                                                                                     ,
                                          (First, Middle, Last)

my date of birth is                                 , and my address is
                                                                                             (Street, City, Zip)

                                                                                                                                .”

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Executed in                                                           County, State of                                          , on the

day of                                                            .



                                                                              Declarant / Authorized Process Server



                                                                              (Id # & expiration of certification)




                                                 ORIGINAL
Citation (Original Petition) issued to United Property and Casualty Insurance Company on 7/31/2019.
      Case 4:19-cv-03426 Document 1-2 Filed on 09/11/19 in TXSD Page 38 of 62



                                         THE STATE OF TEXAS

                                                CITATION

TO:     UNITED PROPERTY AND CASUALTY INSURANCE COMPANY
        CT CORPORATION SYSTEM
        1999 BRYAN STREET SUITE 900
        DALLAS TX 75201-3136

NOTICE:

You have been sued. You may employ an attorney. If you or your attorney do not file a written answer
with the clerk who issued this citation by 10:00 a.m. on Monday next following the expiration of twenty
days after you were served this citation and PLAINTIFF'S ORIGINAL PETITION filed on July 29, 2019, a
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The name and address of the attorney for PLAINTIFF is:

ERIC B DICK
DICK LAW FIRM PLLC
3701 BROOKWOODS DRIVE
HOUSTON TX 77092
832-207-2007

The nature of the demands of said PLAINTIFF is shown by a true and correct copy of the PLAINTIFF'S
ORIGINAL PETITION accompanying this citation and made a part hereof.

If this Citation is not served, it shall be returned unserved. Issued under my hand and seal of said Court,
at Richmond, Texas, on this the 31st day of July, 2019.

                                                 DISTRICT CLERK BEVERLEY MCGREW WALKER
                                                 FORT BEND COUNTY, TEXAS
                                                 Physical Address:
                                                 1422 Eugene Heimann Circle, Room 31004
                                                 Richmond, Texas 77469
                                                 Mailing Address:
                                                 301 Jackson Street, Room 101
                                                 Richmond, Texas 77469

                                                 By:
                                                       Deputy District Clerk DONALD EVANS
                                                       Telephone: (281) 238-3276




                                                 SERVICE
     Case 4:19-cv-03426 Document 1-2 Filed on 09/11/19 in TXSD Page 39 of 62




19-DCV-264976                                      268th Judicial District Court
Michael Ihekoronye vs United Property and Casualty Insurance Company

                                 OFFICER’S OR AUTHORIZED PERSON’S RETURN

          Came to hand on the                        day of                                       , 20     , at       o’clock        ___M.
          Executed at                                                                                        , within the County of
                                                                              , at       o’clock ___M. on the                       day of
                                          , 20    , by delivering to the within named
                                                                              , in person, a true copy of this citation together
with the accompanying copy of the petition, having first attached such copy of such petition to such copy
of citation and endorsed on such copy of citation the date of delivery.

Total fee for serving           citation at $80.00 each $


                                                                      Name of Officer or Authorized Person

                                                                                                                      County, Texas

                                                                  By:
                                                                         Signature of Deputy or Authorized Person
*State day and hour and place of serving each person.

COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer or authorized person who serves, or attempts to serve, a citation shall sign the return. The
signature is not required to be verified. If the return is signed by a person other than a sheriff, constable, or the clerk of the court,
the return shall be signed under penalty of perjury and contain the following statement:

“My name is                                                                                                                     ,
                                          (First, Middle, Last)

my date of birth is                                  , and my address is
                                                                                             (Street, City, Zip)

                                                                                                                                .”

I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

Executed in                                                           County, State of                                          , on the

day of                                                            .



                                                                              Declarant / Authorized Process Server



                                                                              (Id # & expiration of certification)




                                                                  SERVICE
                                                                                                               Filed
      Case 4:19-cv-03426 Document 1-2 Filed on 09/11/19 in TXSD Page 40 of 62                    9/3/2019 9:53 AM
                                                                                          Beverley McGrew Walker
                                                                                                      District Clerk
                                                                                          Fort Bend County, Texas
                                                                                             Donald Evans

                                   CAUSE NO: 19-DCV-264976

MICHAEL IHEKORONYE                             §     IN THE DISTRICT COURT OF
                                               §
VS.                                            §     FORT BEND COUNTY, TEXAS
                                               §
UNITED PROPERTY & CASUALTY                     §
INSURANCE COMPANY                              §     268TH JUDICIAL DISTRICT

  DEFENDANT UNITED PROPERTY & CASUALTY INSURANCE COMPANY’S
ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR
                          DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, United Property & Casualty Insurance Company (“United Property”) in

the above-entitled and numbered cause and files this, its Original Answer to Plaintiff’s Original

Petition and Request for Disclosure and would respectfully show unto the Court the following:

                                    I.       GENERAL DENIAL

         1.1       United Property & Casualty Insurance Company asserts a general denial as is

authorized by Rule 92 of the Texas Rules of Civil Procedure, and requests that Plaintiff be

required to prove his charges and allegations against United Property & Casualty Insurance

Company by a preponderance of the evidence as is required by the Constitution and law of the

State of Texas.

                            II.    DENIAL OF CONDITIONS PRECEDENT

         2.1       The Policy contains certain conditions that have not been satisfied that bar

Plaintiff’s recovery, in whole or in part:

         A.        NO ACTION CLAUSE

         2.2       The Policy specifically provides, as conditions precedent to property loss

coverage, that no suit can be brought against United Property unless the following policy

provisions have been complied with:




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         C.        Duties After Loss

                   1.    Your Duties After Loss

                         In case of a loss to covered property, you must comply with all of the
                         following duties. We have no duty to provide coverage under this policy if
                         the failure to comply with the following duties is prejudicial to us. These
                         duties must be performed either by you or an “insured” seeking coverage.

                         a.     Give prompt notice to us or our agent. With respect to loss caused
                                by windstorm or hail in the catastrophe area, as defined by the
                                Texas Insurance Code, any claim must be filed with us not later
                                than one year after the date of the loss that is the subject of the
                                claim. However, any such claim may be filed after the first
                                anniversary of the date of the loss for good cause shown by the
                                person filing the claim.

                         b.     Adjust all losses directly with us.
                                        ***
                         e.     Protect the property from further damage. If repairs to the property
                                are required, you must:

                                (1) Provide us with an opportunity to inspect the property in its
                                damaged condition and prior to repairs;

                                (2) Provide us with an opportunity to exercise our option to repair;

                                (3) Provide us with specifications of damage and detailed repair
                                estimates prior to making repairs;

                                (4) Make reasonable and necessary repairs to protect the property;
                                and

                                (5) Keep an accurate record of repair expenses.

                         f.     Cooperate with us in the investigation of a claim;
                                       ***
                         h.     As often as we reasonably require:

                                (1) Show the damaged property;

                                (2) Provide us with records and documents we request and permit
                                us to make copies;
                                       ***




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                   H.     Legal Action Against Us

                          1.      Except as provided in Paragraph 2., no suit or action can be
                                  brought against us unless there has been full compliance with all of
                                  the terms under Section I of this policy.
                                          ***
                          2.      With respect to suits brought in connection with claims for loss
                                  caused by windstorm or hail in the catastrophe area, as defined by
                                  the Texas Insurance Code:

                          3.      No action can be brought against us unless there has been
                                  compliance with all of the terms of this policy.
                                         ***

         2.3       Plaintiff’s failure to comply with the above provisions, specifically: (C)(1)(a), as

Plaintiff failed to provide reasonably prompt notice of his loss to Defendant; and (C)(1)(f), as

Plaintiff failed to cooperate with UPC in the investigation of his claim, constitute a breach of the

“no action” clause. Accordingly, Plaintiff is barred from proceeding with his lawsuit and from

recovering damages, attorneys’ fees, interest or other amounts from United Property.

         B.        LOSS DURING THE POLICY PERIOD

         2.4       The Policy does not cover damages which occurred prior to Policy inception

regardless of whether such damages were apparent at the time of the inception of the Policy or

discovered at a later date. To the extent that any part of the loss which Plaintiffs complain did not

occur during the applicable policy period, the Policy provides no coverage for same.

         2.5       The Policy does not cover claims or damages arising out of workmanship, repairs

or lack of repairs arising from damage which occurred prior to Policy inception.

         C.        LOSS ABOVE THE DEDUCTIBLE

         2.6       United Property’s obligation to pay under the Policy extends, if at all, only to a

covered loss that exceeds the Policy deductible. If there is an obligation to pay, it applies only to

the amount of covered loss that exceeds the deductible.




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                                 III.    AFFIRMATIVE DEFENSES

         3.1       United Property & Casualty Insurance Company denies that the required

conditions precedent were performed and/or occurred. Plaintiff cannot recover against United

Property, in whole or in part, for any of the causes of action alleged in Plaintiff’s Original

Petition because the conditions precedent to coverage under the Policy have not been satisfied.

         3.2       The Policy does not cover damages which occurred prior to Policy inception

regardless of whether such damages were apparent at the time of the inception of the Policy or

discovered at a later date. To the extent that any part of the loss to which Plaintiff’s complain did

not occur during the applicable policy period, the Policy provides no coverage for same.

         3.3       The Policy does not cover claims or damages arising out of workmanship, repairs

or lack of repairs arising from damage which occurred prior to Policy inception.

         3.4       The damages allegedly sustained by Plaintiff may have been the result of actions

or omissions of individuals over whom United Property had no control, including but not limited

to Plaintiff, therefore, United Property is not liable to Plaintiff.

         3.5       United Property issued a policy of insurance to Michael Ihekoronye, and United

Property adopts its terms, conditions and exclusions as if copied in extenso.

         3.6       The Policy does not cover loss caused by wear and tear, marring, deterioration,

mechanical breakdown, latent defect, inherent vice or any quality in property that causes it to

damage or destroy itself.

         3.7       The Policy requires direct, physical loss.




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         3.8       The Policy does not cover loss caused by foundation settlement due to earth

movement, which is specifically excluded under the Policy’s Foundation Coverage Amendatory

Endorsement Texas HO 04 68 05 11, which provides as follows:

         SECTION I – PROPERTY COVERAGES
         Under E. Additional Coverages, the following coverage is added:
         Foundation Coverage
                a.      We cover settling, cracking, shrinking, bulging or expansion of the foundation,
                        floor slab or footings that support the dwelling caused by seepage or leakage
                        of water or steam from within a plumbing, heating, air conditioning or
                        automatic fire protective sprinkler system.

                          This coverage includes the cost of tearing out and replacing any part of the
                          building necessary to repair the system from which the leakage or seepage
                          occurred.

                   b.     We do not cover the loss to the system which the water or steam escaped.

                   c.     Our limit of liability for this coverage will not exceed an amount equal to 15% of
                          the Coverage A limit applicable on the date of loss.

                   d.     This coverage does not increase the limit of liability that applies to the damaged
                          covered property.
                                                 ***

         SECTION I – PERILS INSURED AGAINST
         The following revisions are made for the purposes of this endorsement only:
         For Form HO 00 03:
         Paragraph A.2.c.(5) is replaced by the following:

                   (5)    Constant or repeated seepage or leakage of water or steam or presence of
                          condensation of humidity, moisture or vapor, over a period of weeks, months or
                          years, from within a plumbing, heating, air conditioning or automatic fire
                          protective sprinkler system, or from within a household appliance, except as
                          specifically provided by this endorsement.
                                                    ***

         3.9       The Policy does not cover loss caused by constant or repeated seepage or leakage

of water or steam or the presence or condensation of humidity, moisture or vapor, over a period

of weeks, months or years from within a plumbing, heating, air conditioning or automatic fire

protective sprinkler system or from within a household appliance.

         3.10      The Policy does not cover an abrupt falling down or caving in; loss of structural

integrity, including separation of parts of the property in danger of falling down or caving in; or




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any cracking, bulging, sagging, bending, leaning, settling, shrinkage or expansion as such

condition relates to an abrupt falling down or caving in or loss of structural integrity.

         3.11      United Property is entitled to any credits or set-offs for prior payments by United

Property or other third parties.

         3.12      To the extent that Plaintiff’s damages are determined to be the result of a failure

by Plaintiff to take reasonable steps to mitigate the loss, those damages are not recoverable.

         3.13      To the extent that all statutory and policy requisites have not been satisfied, this

suit is premature.

         3.14      To the extent Plaintiff has failed to carry his burden to segregate the damage

attributable solely to loss event referenced in the Original Petition, those damages are not

recoverable.

                               IV.        REQUEST FOR DISCLOSURE

         Pursuant to Rule 194, Plaintiff is requested to disclose the information or material

described in Rule 194.

                                     V.     PRAYER FOR RELIEF

         WHEREFORE, PREMISES CONSIDERED, Defendant, United Property & Casualty

Insurance Company, respectfully prays that Plaintiff take nothing by his suit, that Defendant

recovers costs, and for such other and further relief, both at law and in equity, to which United

Property & Casualty Insurance Company may be justly entitled.




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                                           Respectfully submitted,

                                           LEWIS BRISBOIS BISGAARD & SMITH LLP



                                           By: /s/ Sarah R. Smith
                                               Sarah R. Smith
                                               Texas State Bar No. 24056346
                                               Sarah C. Plaisance
                                               Texas State Bar No. 24102361
                                               24 Greenway Plaza, Suite 1400
                                               Houston, Texas 77046
                                               Telephone: 713.659.6767
                                               Facsimile: 713.759.6830
                                               sarah.smith@lewisbrisbois.com
                                               sarah.plaisance@lewisbrisbois.com

                                               ATTORNEYS FOR DEFENDANT,
                                               UNITED PROPERTY & CASUALTY
                                               INSURANCE COMPANY




                                 CERTIFICATE OF SERVICE
       This is to certify that a true and correct copy of the above pleading has been forwarded
pursuant to the Texas Rules of Civil Procedure on this 3rd day of September, 2019.

         Eric B. Dick                      Via Eserve
         Dick Law Firm, PLLC
         3701 Brookwoods Dr.
         Houston, Texas 77092
         eric@dicklawfirm.com
         Attorney for Plaintiff

                                                  /s/ Sarah R. Smith
                                                  Sarah R. Smith




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                                                                                                                 Filed
      Case 4:19-cv-03426 Document 1-2 Filed on 09/11/19 in TXSD Page 47 of 62                      9/3/2019 2:50 PM
                                                                                            Beverley McGrew Walker
                                                                                                        District Clerk
                                                                                            Fort Bend County, Texas
                                                                                               Donald Evans

                                   CAUSE NO. 19-DCV-264976

 MICHAEL IHEKORONYE,                              §                 IN THE DISTRICT COURT
  Plaintiff,                                      §
                                                  §
                                                  §
                                                  §
 v.                                               §                268TH JUDICIAL DISTRICT
                                                  §
 UNITED PROPERTY & CASUALTY                       §
 INSURANCE COMPANY,                               §
   Defendant,                                     §
                                                  §            FORT BEND COUNTY, TEXAS

                      PLAINTIFF’S MOTION TO COMPEL APPRAISAL
                                   AND ABATEMENT

         COMES NOW Plaintiff in the above-styled lawsuit and files this Motion to Compel

Appraisal of Plaintiff’s property damage claim as authorized by the insurance policy at issue in

this case and abate the lawsuit pending completion of the appraisal process, and would respectfully

show the Court as follows:

                                             I.
                                    FACTUAL BACKGROUND

      1. This lawsuit arises out of a dispute over an insurance claim made by Plaintiff for damage

         to his property.

      2. Defendant’s policy provides for appraisal as a means for determining the amount of loss

         when the parties are unable to agree to the amount of loss.

      3. Plaintiff timely invoked the appraisal clause of Defendant’s policy.

      4. To date, Defendant has not named its appraiser pursuant to the insurance agreement.

      5. To date, Defendant has refused to participate in the appraisal process.


                                               II.
                                            OVERVIEW




                                                  1
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6. The case should be abated and the parties should be compelled to complete the appraisal

   process.

7. This suit arises out of a disagreement over the amount of loss to Plaintiff’s property.

8. The insurance policy contains an appraisal clause for resolution of this type of dispute. The

   appraisal clause requires the parties, upon written demand, to submit to the appraisal

   process when they fail to agree on the “amount of loss.” Despite this contractual agreement,

   Defendant refuses to honor this appraisal clause.

9. The Supreme Court of Texas held in State Farm Lloyds v. Johnson, 290 S.W.3d 886 (Tex.

   2009), that in every property damage claim, someone must determine the “amount of loss.”

   An appraisal clause binds the parties to have the extent or amount of the loss determined

   in a particular way. Like any other contractual provision, appraisal clauses should be

   enforced. Id. at 895.

10. Texas courts have consistently enforced appraisal provisions with virtually no exception.

   See In re Universal Underwriters of Tex. Ins. Co., 345 S.W.3d 404, 407 (Tex. 2011)

   (holding that appraisal clauses generally are enforceable, absent illegality or waiver); In re

   Slavonic Mut. Fire Ins. Ass’n, 308 S.W.3d 556, 559 (Tex. App.—Houston [14th Dist.]

   2010, no pet.).


11. Completion of appraisal in accordance with Defendant’s policy is a condition precedent to

   filing suit on the insurance contract. Woodward v. Liberty Mut. Ins. Co. No. 3:09-CV-0228-

   G, 2010 WL 1186323 *3 (N.D. Tex. Mar. 26, 2010). "When one party to an insurance

   contract properly invokes the contract’s appraisal clause…a court should exercise its

   discretion to stay the suit pending completion of the appraisal." Woodward, 2010 WL

   1186323 at *3; see also In re Slavonic Mut. Fire Ins. Ass’n, 308 S.W.3d 556, 565 (Tex.



                                             2
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   App.—Houston [14th Dist.] 2010, no pet.) ("[a] remedy to enforce a condition precedent

   in its policy is abatement of the case"); see also United Neurology, PA v. Hartford Lloyd’s

   Ins. Co., No. H-10-4248, 2012 WL 423417 (S.D. Tex. Feb. 8, 2012) (abating case while

   the appraisal goes forward); Rice v. Certain Underwriters at Lloyds, Civ. A. No. H-10-

   4660, 2011 WL 240421 (S.D. Tex. Jan. 21, 2011) (abating case until appraisal process is

   complete).

12. Here, Plaintiff timely invoked the appraisal provisions of its policy. Plaintiff requests that

   the court exercise its discretion to abate this case pending the completion of the appraisal

   process.

13. Furthermore, judicial economy is best served by staying this matter until such time as the

   appraisal process is complete. See Slavonic, 308 S.W.3d at 565; see also Butler v. Prop.

   & Cas. Ins. Co. of Hartford, Civ. A. No. H-10-3613, 2011 WL 2174965 (S.D. Tex. June

   3, 2011) (holding that abatement of the case pending appraisal is appropriate and “in the

   interest of the efficient and inexpensive administration of justice”). Moving forward with

   discovery related to alleged breach of contract and extra-contractual causes of action when

   a condition precedent to the breach of contract claim has not been satisfied is a waste of

   the parties’ and the Court’s resources.


14. The purpose of appraisal is to determine the amount of loss and possibly resolve the case

   with “no attorneys, no lawsuit, no pleadings, and no hearings.” State Farm Lloyd's v.

   Johnson, 290 S.W.3d 886, 894 (Tex. 2009) (noting that appraisals are less costly and faster

   than litigation, and often resolve disputes such as this one). Consistent with the purpose of

   appraisal, i.e., to prevent or reduce litigation efforts and costs, Plaintiff requests the Court

   abate this lawsuit until the appraisal process is completed.



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                                     III.
                            ARGUMENT & AUTHORITIES

15. Texas courts specifically enforce appraisal clauses in standard Texas policies and have

   routinely required insurers to participate in the appraisal process as contracted under their

   policies. See Universal, 345 S.W.3d at 412; In re Allstate County Mut. Ins. Co., 85 S.W.3d

   193, 196 n. 5 (Tex. 2002); In re State Farm Lloyds, 170 S.W.3d 629, 634-635 (Tex. App.—

   El Paso 2005, orig. proceeding); Vanguard Underwriters Ins. Co. v. Smith, 999 S.W.2d

   448, 449 (Tex. App.—Amarillo, 1999, no pet.).


16. The Supreme Court of Texas has reaffirmed the mandatory nature and enforceability of

   appraisal clauses and noted that this is a principle that has been followed consistently since

   at least 1888. Universal, 345 S.W.3d at 406-07 (holding that appraisal clauses are generally

   enforceable, absent illegality or waiver); Johnson, 290 S.W.3d at 888-89 (citing Scottish

   Union & Nat. Ins. Co. v. Clancy, 8 S.W. 630 (Tex. 1888)); see also In re Allstate, 85

   S.W.3d at 196.


17. In Johnson, the Texas Supreme Court affirmed the Dallas Court of Appeals holding that

   appraisal must still be enforced even if there is some underlying dispute because the parties

   still need to know the “amount of loss.” Johnson, 290 S.W.3d at 895. The facts of Johnson

   are instructive. There, the insured made a claim under his State Farm Lloyds homeowners

   policy alleging the roof of the home had been damaged during a hail storm. State Farm

   Lloyds’ adjuster concluded that hail caused only minimal damage to the ridgeline of the

   roof which fell below the policy’s deductible. Id. Accordingly, no payment was made on

   the claim. The insured’s contractor argued that hail had damaged the entire roof thus




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   mandating that the entire roof be replaced. Id. The Texas Supreme Court determined that

   the dispute over roof damage was properly subject to the policy’s appraisal provision

   holding that “[a]ny appraisal necessarily includes some causation element, because setting

   the ‘amount of loss’ requires appraisers to decide between damages for which coverage is

   claimed from damages for everything else.” Id. at 893. The application of Johnson to this

   case is clear; irrespective of the cause of the insured’s claimed roof damage (old damage

   or new damage), or whether it is a covered loss, someone must determine what the amount

   of that loss is resulting from the alleged storm.


18. It is undisputed that the appraisal clause applies to the dispute over the amount of Plaintiff’s

   loss. Plaintiff has properly and timely invoked the appraisal clause in the Policy. Therefore,

   Texas law mandates that Defendant comply with the appraisal clause as properly requested

   by Plaintiff.


19. In Johnson, the Court held that "the scope of appraisal is damages, not liability." Id. at 890.

   However, this does not mean the cause of damage is not relevant in the appraisal process.

   In explaining its holding, the Johnson Court recognized that "causation relates to both

   liability and damages because it is the connection between them." Id. at 891-892.

   Therefore, "appraisers must always consider causation, at least as an initial matter." Id. at

   893. The Court made clear that, "an appraisal is for damages caused by a specific

   occurrence, not every repair a home might need." Id. Therefore, appraisal cannot be

   avoided merely because there is a question of causation. Id.


20. In Johnson, State Farm made the argument that appraisal was not appropriate because there

   was a dispute concerning causation. The Supreme Court held that State Farm's argument



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   failed because appraisers must be allowed to allocate damages between covered and

   excluded perils or they would never be able to assess hail damage unless a roof was brand

   new.


21. This holding has been followed by the appellate courts in numerous cases in which the

   insurer denied there was a covered loss. See In re Texas Windstorm Ins. Ass'n, 2013 WL

   4806996 (Tex.App.—Houston [14th Dist.] 2013, orig. proceeding); In re Public Service

   Mut. Ins. Co., 2013 WL 692441 (Tex.App.—Austin 2013, orig. proceeding), In re Southern

   Ins. Co., 2011 WL 846205 (Tex.App.—Beaumont 2011, orig. proceeding).


22. The court in In re Southern, 2011 WL 846205 (Tex.App.—Beaumont 2011, orig.

   proceeding) rejected the plaintiff’s argument that the insurer must agree that the loss is

   covered by the policy before there was a failure to agree as to “amount of loss.” The court

   held:

           The parties dispute causation. Southern contends that the damage to
           Neisen’s home is the result of long term repeated leakage, and Neisen
           contends the damage was caused by winds during Hurricane Ike.
           Nevertheless, following the Supreme Court’s decision in Johnson, we
           conclude that under the circumstances the appraisal should be determined
           as an initial matter and the parties may then litigate causation questions. See
           id. at 894. "[W]hen an indivisible injury to property may have several
           causes, appraisers can assess the amount of damage and leave causation up
           to the courts. When divisible losses are involved, appraisers can decide the
           cost to repair each without deciding who must pay for it." Id. "When an
           insurer denies coverage, appraisers can still set the amount of loss in case
           the insurer turns out to be wrong." Id. The appraisal clause "binds the parties
           to have the extent or amount of the loss determined in a particular way,
           leaving the question of liability for such loss to be determined, if necessary,
           by the courts." Scottish Union & Nat’l Ins. Co., 8 S.W. at 631.

23. Under similar facts here, the policy does not require the insurer to acknowledge liability

   before appraisal is appropriate. As such, under Texas law, the policy appraisal provisions




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   should be enforced in this matter.


24. While Texas courts have held that an insured can waive its right to appraisal, the intent for

   such waiver must be clearly demonstrated by the surrounding facts and circumstances. In

   re Continental Cas. Co., No. 141-10-00709-CV, 2010 WL 3703664, at *3 (Tex.App.—

   Houston [14th Dist.] September 23, 2010, no pet.) (citing Jernigan v. Langley, 111 S.W.3d

   153, 156-57 (Tex. 2003)).


25. Texas courts are extraordinarily hesitant to find waiver of an appraisal clause. See Scottish

   Union, 8 S.W. at 632 (holding inspection of damage, partial adjustment of claim, offer to

   pay for certain items and acceptance of inventory of lost or damaged items did not waive

   appraisal as to value of disputed items damaged in fire). To constitute a waiver of appraisal,

   the action by the insured must be "reasonably calculated to induce the insurer to believe

   that compliance by him with the terms and requirements of the policy is not desired, or

   would be of no effect if performed. The acts relied on must amount to a denial of liability

   or a refusal to pay the loss." Id.


26. The facts in this case do not give rise to a waiver. Plaintiff invoked appraisal only after

   Defendant failed to pay the full amount owed under the policy. Moreover, Plaintiff

   invoked the appraisal provision after the parties reached an impasse in negotiations. This

   is the direct evidence of disagreement between the parties on the amount of loss, thereby

   justifying Plaintiff’s demand for appraisal.


27. In addition, a “waiver is an affirmative defense that can be asserted against a party who

   intentionally relinquishes a known right or engages in intentional conduct inconsistent with

   claiming that right.” In re Acadia Ins. Co., 279 S.W.3d 777, 779 (Tex. App.—Amarillo


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   2007, orig. proceeding) (citing Tenneco, Inc. v. Enter. Prods. Co., 925 S.W.2d 640, 643

   (Tex. 1996)) (applying waiver standard to appraisal clause). As such, the Defendant bears

   the burden of showing affirmative facts evidencing an insured’s intention to relinquish the

   right to appraisal. In re State Farm Lloyds, 170 S.W.3d at 634. Defendant has not and

   cannot show any facts to meet its burden in this case.


28. The Universal Court noted that “mere delay is not enough to find waiver; a party must

   show that it has been prejudiced.” Universal, 345 S.W.3d at 411 (citing Terra Indus., Inc.

   v. Commonwealth Ins. Co. of Am., 981 F.Supp. 581 (N.D. Iowa 1997)). The court reasoned

   that “[i]f the insured has suffered no prejudice due to delay, it makes little sense to prohibit

   appraisal when it can provide a more efficient and cost-effective alternative to litigation.”

   Id. In light of this rationale, and noting the tendency of other jurisdictions to so require, the

   court concluded that in order to establish waiver a party must show that “an impasse was

   reached, and that any failure to demand appraisal within a reasonable time prejudiced the

   opposing party.” Id. at 412. The court then went on to note that “it is difficult to see how

   prejudice could ever be shown when the policy ... gives both sides the same opportunity to

   demand appraisal.” Id.


29. As the Universal court noted, it is difficult to demonstrate how Defendant could be

   prejudiced by appraisal, as the policy of insurance provides Defendant with the same

   opportunity to demand appraisal afforded to Plaintiff. Proceeding with appraisal in the

   instant case would not cause Defendant to suffer any “inherent unfairness in terms of delay,

   expense or damage to his legal position.” See Id. at 411, (citing Perry Homes v. Cull, 258

   S.W.3d 580, 597 (Tex. 2008).




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30. Consistent with the Universal opinion, two more recent appellate opinions have held the

   Defendant must show delay and prejudice to avoid appraisal. In EDM v. Hartford, the court

   found no prejudice to the insured. No. H-10-3754, 2011 WL 2619069, at *1 (S.D. Tex.

   2011). In that matter, the claim was originally adjusted but suit not filed until almost two

   years after the storm. Id. After suit had been filed the parties proceeded to mediation. Id.

   Only after mediation failed and several months after suit was filed did the carrier invoke

   appraisal. Id. at *2. The court found that impasse had been reached only after the parties

   failed at mediating their claims. Id. at *6. Moreover, the insured had not demonstrated any

   prejudice. Id. (defining prejudice for the purposes of waiver as the inherent unfairness in

   terms of delay, expense, or damage to a party’s legal position). See also In re Cypress

   Texas Lloyds, 419 S.W.3d 443, 444-45 (Tex.App.—Beaumont 2012, orig. proceeding).


31. The Court in In re Cypress Texas Lloyds, held that there was no prejudice even though they

   had incurred litigation expenses including hearings, motions and expert fees. 419 S.W.3d

   at 444-45. The court stated that the parties could have avoided the costs by requesting the

   appraisal and concluded that “when a party knows of its right to request an appraisal and

   does not make that request, it is difficult to attribute the costs incurred to the opponent.”

   Id. at 445.


32. Pursuant to the Policy’s terms, Defendant in this case was entitled to demand appraisal and

   could have avoided any perceived prejudice by making the demand itself. Universal, 345

   S.W.3d at 412; In re Cypress Texas Lloyds, 419 S.W.3d at 445-45. Defendant did not

   proactively exercise its rights nor can it show any prejudice as a result of Plaintiff’s actions.

   Therefore, no waiver has occurred and appraisal should be compelled. In the instant case,

   Defendant would suffer no prejudice by this matter proceeding to appraisal. To date,


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   Defendant has incurred little notable expenses and the parties have conducted minimal

   discovery in this matter.


33. Courts have the discretion to stay or abate insurance litigation—such as the instant case—

   until appraisal is complete. See In re Slavonic Mut. Fire Ins. Ass’n, 308 S.W.3d at 564-65;

   Vanguard Underwriters Ins. Co., 999 S.W.2d at 450-51; James v. Prop. & Cas. Ins. Co. of

   Hartford, No. H-10-1998, 2011 WL 4067880 (S.D. Tex. Sept. 12, 2011); United

   Neurology, P.A. v. Hartford Lloyds Ins. Co., No. H-10-4248, 2012 WL 423417 (S.D. Tex.

   Feb. 8, 2012). Moreover, recognizing this as the law and that to allow the litigation to

   proceed while appraisal is underway would be an unnecessary waste of valuable court

   resources and otherwise unnecessarily increase attorney and litigation fees to all parties;

   courts have the discretion and have been staying or abating insurance litigation such as the

   one here until appraisal is complete. See In re Slavonic Mut. Fire Ins. Ass’n, 308 S.W.3d

   556, 564-65 (Tex.App.—Houston [14th Dist.] 2010); Vanguard Underwriters Ins. Co. v.

   Smith, 999 S.W.2d 448, 450-51, (Tex.App.—Amarillo 1999); James v. Prop. & Cas. Ins.

   Co. of Hartford, No. H-10-1998, 2011 WL 4067880 (S.D. Tex. Sept. 12, 2011); United

   Neurology, P.A. v. Hartford Lloy’'s Ins. Co., No. H-10-4248, 2012 WL 423417 (S.D. Tex.

   Feb. 8, 2012).


34. The Texas Court of Appeals in Vanguard Underwriters Ins. Co., and In re Slavonic Mut.

   Fire Ins. Ass’n also upheld abatement of the lawsuit pending the appraisal process finding

   a condition precedent in the policy which provides, “no suit or action can be brought unless

   the policy provisions have been complied with. Action brought against us must be started

   within two years and one day after the cause of action accrues.” Vanguard, 999 S.W.2d at




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   450-51; In re Slavonic Mut. Fire Ins. Ass’n, 308 S.W.3d at 565; James, No. H-10-1998,

   2011WL4067880 at *2; United Neurology, P.A., No. H-10-4248, 2012 WL 423417 at *1-

   2. These Courts have concluded that because appraisal is a condition precedent to suit,

   abatement is appropriate. In the instant matter, the same policy language is present.

   Accordingly, this Court should also abate this lawsuit pending the appraisal process.


35. Plaintiff therefore moves for abatement of all of the pre-trial deadlines currently pending

   in an effort to avoid the unnecessary expenditure of time and resources in a case where

   such investment may prove ultimately unnecessary. Plaintiff’s request is not made for the

   purposes of delay.


36. Appraisal is appropriate in this matter. It is required by the insurance policy, and the Texas

   Supreme Court has held that “like any other contractual provision, appraisal clauses should

   be enforced.” Johnson, 290 S.W.3d at 895. Similarly, it is appropriate and within this

   Court’s discretion to abate this lawsuit pending the appraisal process.



                                      IV.
                           REQUEST FOR ATTORNEY FEES

37. Defendant has been attempting to evade appraisal across multiple lawsuits—in some cases

   after it had already agreed to appraisal. Here, Defendant has no valid reason to disregard

   the terms of its policy; has not provided any such reason other than they simply do not wish

   to go through appraisal; and has forced Plaintiff to draft, file, and argue this motion.

   Appraisal is a condition under the terms of the policy once properly invoked. As discussed

   in the motion, Plaintiff has properly invoked appraisal in this case, and Defendant is

   required to participate. Instead, Defendant wants to waste the parties’ and the Court’s time



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   and resources arguing baseless and frivolous objections. Therefore, Plaintiff requests the

   court to award Plaintiff reasonable attorney fees and costs associated with preparing,

   drafting, and arguing the motion.


                                     V.
                             CONCLUSION & PRAYER

38. WHEREFORE, PREMISES CONSIDERED, Plaintiff prays this Court grant this Motion

   to Compel Appraisal and Abatement pending completion of the appraisal process, and stay

   all proceedings, including but not limited to, all discovery, pending motions and hearings,

   until such time as Plaintiff and Defendant advise the Court that the appraisal process has

   been completed.



                                        Respectfully submitted,




                                        Eric B. Dick, LL.M.
                                        SBN: 24064316
                                        DICK LAW FIRM, PLLC
                                        3701 Brookwoods Drive
                                        Houston, Texas 77092
                                        832-207-2007 Office
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                                CERTIFICATE OF SERVICE

        I certify that in accordance with the Texas Rules of Civil Procedure I served a true and
correct copy of the above on the parties of record. This service was made in a manner appropriate
under the Texas Rules of Civil Procedure.




                                            Eric B. Dick, LL.M.
                                            SBN: 24064316


September 3, 2019




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                                                                                                                           Beverley   McGrew Walker
                                                                                                                                        District   Clerk
                                                                                                                           FortBend County, Texas
                                                                                                                              Donald Evans


                                                        CAUSE N0.       19-DCV-264976

                  MICHAEL IHEKORONYE,                                    §                IN   THE DISTRICT COURT
                       Plaintiﬁf                                         §
                                                                         §
                                                                         §
                                                                         §
                  V.                                                     §               268TH    JUDICIAL DISTRICT
                                                                         §
                  UNITED PROPERTY &                                      §
                  CASUALTY INSURANCE                                     §
                  COMPANY,                                               §
                        Defendant,                                       §            FORT BEND COUNTY, TEXAS


                                           ORDER ON PLAINTIFF’S MOTION TO COMPEL
                                                 APPRAISAL AND ABATEMENT



                 Before the Court      is Plaintiff’s   Motion   to   Compel Appraisal and Abatement          (the “Motion”).

                 Having considered the Motion, Defendant’s response,                   if any,   and the evidence and the

                 pleadings and papers on ﬁle, the Court ﬁnds there           is   good and sufﬁcient cause     for the   Motion

                 and that the Motion should be          GRANTED.


                 IT IS    THEREFORE ORDERED, ADJUDGED, AND DECREED that the Motion is hereby in
                 all   things   GRANTED.


                 IT IS    FURTHER ORDERED that Defendant is hereby compelled t0 participate in the appraisal
                 process as sat forth in the policy of insurance referenced in the Motion. Defendant shall submit

                 its   appraiser appointment to Plaintiff Within seven (7) days of the date 0f this Order.




                 IT IS    FURTHER ORDERED               that Plaintiffs entire claim shall     be submitted t0 the appraisal

                 pI‘OCCSS.




                 IT IS    FURTHER ORDERED               that the above-styled     and captioned cause   is   hereby   ABATED
                 and     STAYED      for   one hundred and twenty (120) days or          until   such time as Plaintiff and




ROUTED To COURT                 9/3/19 d9

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  Defendant advise the Court that the appraisal has been completed. This abatement includes               all


  obj ections   and responses   to outstanding written discovery   and   all trial   deadlines, including all

  expert designations and discovery cutoff. Objections and responses to any served

  discovery—including Requests for Admission, Requests for Production, Requests for

  Disclosure and Interrogatories—will be due sixty (60) days following the date of the appraisal

  award.



  IT IS    FURTHER ORDERED           that   Defendant pay   Plaintiff’s reasonable attorneys’ fees       and

  costs associated With preparation, drafting,   and arguing Plaintiff” s Motion to Compel Appraisal

  in the   amount of $




  SIGNED on




                                                   JUDGE PRESIDING



APPROVED AS TO FORM ONLY:
/s/Eric B. Dick
            LL.M.
Eric B. Dick,
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                                                                                                                    Filed
     Case 4:19-cv-03426 Document 1-2 Filed on 09/11/19 in TXSD Page 62 of 62                          9/4/2019 4:59 PM
                                                                                               Beverley McGrew Walker
                                                                                                           District Clerk
                                                                                               Fort Bend County, Texas
                                                                                                  Donald Evans

                                   CAUSE NO. 19-DCV-264976

MICHAEL IHEKORONYE,                               §     IN THE DISTRICT COURT
 Plaintiff,                                       §
                                                  §
                                                  §
v.                                                §     268TH JUDICIAL DISTRICT
                                                  §
UNITED PROPERTY & CASUALTY                        §
INSURANCE COMPANY,                                §
  Defendant,                                      §
                                                  §     FORT BEND COUNTY, TEXAS

                                     NOTICE OF HEARING

     BE IT KNOWN that PLAINTIFF’S MOTION TO COMPEL APPRAISAL AND
     ABATEMENT has been set for an oral hearing on October 11, 2019, at 9:00 am at the
     268th Judicial District Court of Fort Bend County, located at 1422 Eugene Heimann Circle,
     Richmond, Texas 77469.

                                  CERTIFICATE OF SERVICE

            I certify that a true and correct copy of the above was served to parties of record in
     a method appropriate under Texas Rules of Civil Procedure.

     Signed on September 4, 2019




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